      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 1 of 18




              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT WHARTON                :              CIVIL ACTION
                              :
        Petitioner            :              No. 2:01-cv-06049-MSG
                              :
    v.                        :              CAPITAL CASE
                              :
JAMIE SORBER, Superintendent, :
        Respondent            :


    RESPONSE OF AMICUS CURIAE PENNSYLVANIA OFFICE OF
   ATTORNEY GENERAL TO PETITIONER’S MOTIONS IN LIMINE



      AND NOW, comes Amicus Curiae, the Pennsylvania Office of Attorney

General (OAG), through its counsel, James P. Barker, Chief Deputy Attorney

General, and Cari Mahler, Senior Deputy Attorney General, who file this Response

of Amicus Curiae Pennsylvania Office of Attorney General to Petitioner’s Motions

in Limine and, in support thereof, represent as follows:



                                I. BACKGROUND

      Before the Court is a Petition for Writ of Habeas Corpus filed by Robert

Wharton, an inmate at the Pennsylvania State Correctional Institution at Phoenix.

Wharton was sentenced to death for murdering Bradley and Ferne Hart in 1985.

After the first sentencing verdict was overturned by the state Supreme Court, a
       Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 2 of 18




second jury also returned a verdict of death. The state courts affirmed the judgment

of sentence and this Court initially denied habeas corpus relief. However, the Court

of Appeals for the Third Circuit remanded the matter for an evidentiary hearing on

a single issue: whether counsel provided ineffective assistance at Wharton’s

second sentencing hearing by failing to investigate and present evidence of

Wharton’s alleged “positive adjustment” to prison life. The Pennsylvania Office of

Attorney General (OAG) is participating as amicus curiae after the Court issued an

Order, dated May 7, 2019, requesting that OAG file a brief setting forth its position

on whether Wharton is entitled to relief.

      On January 18, 2021, Wharton filed Motions in Limine relating to the

hearing, which is scheduled for four dates in February and March 2021. OAG

hereby responds to those Motions.

                  II. MOTION TO EXCLUDE TESTIMONY
                      OF VICTIMS’ FAMILY MEMBERS

                                    (A) Relevance

      Wharton first moves to exclude testimony from the victims’ family members

under Rule 401 of the Federal Rules of Evidence. Actually, Rule 401 merely

defines relevant evidence:

      Evidence is relevant if:
         (a) it has any tendency to make a fact more or less probable than it
         would be without the evidence; and
         (b) the fact is of consequence in determining the action.
                                            2
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 3 of 18




Rule 401. The Rule governing the admission of relevant evidence provides:

      Relevant evidence is admissible unless any of the following provides
      otherwise:
         •   the United States Constitution;
         •   a federal statute;
         •   these rules; or
         •   other rules prescribed by the Supreme Court.
      Irrelevant evidence is not admissible.

Fed. R. Evid. 402. Wharton’s motion properly is brought under Rule 402.

      It also should be noted that OAG proffered statements not only from family

members of Bradley and Ferne Hart, but also from Lisa Hart-Newman, the

daughter of Bradley and Ferne. She was present on the night of the murders and

was left by Wharton and his coconspirator alone in the unheated home. Lisa Hart-

Newman is a direct victim of Wharton’s crimes.

      Regardless, OAG’s proffer of the statements of the family members related

to a statement contained in the Notice of Concession filed by the Philadelphia

District Attorney’s Office. That Notice indicated that the District Attorney’s Office

had communicated with the family regarding the proposed resolution between the

parties. The family members indicated that such was not the case. The only family

member contacted by the District Attorney’s Office, Dr. Tony Hart, indicated that

he did not fully understand the circumstances surrounding the resolution. No other

family member was contacted, including Lisa Hart-Newman.


                                         3
       Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 4 of 18




      OAG agrees that the statements and views of the surviving members of the

Hart and Allen families are not relevant to the question of whether trial counsel

was ineffective for failing to investigate and present evidence of Wharton’s

purported “positive adjustment.” Their views became relevant when the parties

sought to have the Court accept a resolution of Wharton’s claim based in part on

communications with the family. Their testimony relates to the proposed resolution

as well as to the Court’s express concern regarding whether there has been candor

to the Court in this context.

      It should be noted that OAG merely summarized and presented the

statements of the family members but made no argument thereon. This action

comported with OAG’s duties as attorneys for the Commonwealth and as attorneys

with a duty of candor to the Court. See 71 P.S. §§732-204(c) (Attorney General

represents the Commonwealth in civil matters), 732-206(a) (Attorney General is

the chief law enforcement officer of the Commonwealth); Pa. R. Prof. Cond. 3.3

(outlining lawyer’s duty of candor toward the tribunal); Local Rule of Civil

Procedure 83.6, Rule IV.B (adopting Pennsylvania Rules of Professional Conduct,

with enumerated exceptions, as Rules of this Court). As outlined in OAG’s original

Brief as Amicus Curiae and in this Court’s Memorandum Opinion of February 12,

2020 (at 14-15), victims (defined as including the family members of murder

victims) have a right to be heard on, inter alia, matters related to sentencing. This


                                         4
       Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 5 of 18




hearing plainly relates to sentencing. While the Court may not consider the family

members’ statements for purposes of ruling on Wharton’s claim, it certainly may

consider such statements for purposes of determining whether it should accept the

parties’ proposed resolution.

      Wharton himself again makes this point relevant by again requesting

reconsideration of the Court’s rejection of the proposed “settlement.” Motions in

Limine at 15-16. See also June 12, 2019, Wharton’s Motion to Modify or

Reconsider the Court’s May 7, 2019, Order (filed June 12, 2019, seeking, inter

alia, approval of settlement). Because Wharton, like the District Attorney’s Office,

introduces the issue of whether, based on communications with the family

members, the Court should accept the proposed resolution, those communications

are relevant.

      With respect to this Court purportedly being prejudiced by these statements,

the Supreme Court of the United States has observed:

      In bench trials, judges routinely hear inadmissible evidence that they
      are presumed to ignore when making decisions. It is equally routine
      for them to instruct juries that no adverse inference may be drawn
      from a defendant's failure to testify; surely we must presume that they
      follow their own instructions when they are acting as factfinders.

Harris v. Rivera, 454 U.S. 339, 346 (1981). Similarly, trial judges routinely preside

over hearings and bench trials involving multiple offenses, claims, and/or issues.

There is no reason to believe that they are incapable of distinguishing evidence


                                         5
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 6 of 18




relevant to separate offenses, claims, or issues and considering the evidence only

as to the issue as to which it is relevant. The introduction of evidence relating to

the communications between the family members and the District Attorney’s

Office hardly renders this Court incapable of considering that evidence separate

from the evidence relevant to Wharton’s ineffectiveness claim.

      Wharton also equates the proffered testimony of the family members with

“victim impact evidence” and contends that it is inadmissible for that reason.

Actually, Wharton first was sentenced over thirty-five years ago and again over

twenty-eight years ago. Plainly, the testimony is not “victim impact evidence.”

Rather, it constitutes the feelings of the family members about the proposed

resolution and explanations as to why it was not proffered sooner. The testimony

includes a discussion of the sentence as it currently exists simply because that is

the nature of the inquiry: their feelings about changing that sentence. Wharton’s

discussion of the admissibility of victim impact evidence, Motions in Limine at 5-

7, simply misses this fundamental point.

      Finally as to this point, Wharton claims that OAG is trying to “transform this

proceeding into a dispute with the [District Attorney’s Office] over its victim

outreach policies.” Motions in Limine at 7. Again, OAG did not raise the issue of

communication with the family members. The District Attorney’s Office did so in

its Notice of Concession, Wharton has continued to keep the issue open with his


                                           6
       Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 7 of 18




motions for reconsideration, and the Court has indicated that it wishes to hear from

the family members to address a potential issue of candor. Most importantly, as

addressed further below, federal law and state law require that the views of the

family members be taken into consideration by the attorneys for the

Commonwealth and federal law requires their views be considered by the Court.

Contrary to Wharton’s assertions, OAG did not raise this issue; the parties did so,

and it is relevant as a matter of law.

                            (B) Crime Victims’ Rights Act

      Wharton next claims that the family members’ views are not admissible

under the federal Crime Victims’ Rights Act, 18 U.S.C. § 3771, because the

hearing is not a sentencing hearing. Motions in Limine at 7-10. Actually, the plain

language of the statute requires that the family members be heard.

      The most pertinent provision of § 3771 reads: “A crime victim has the

following rights: … The right to be reasonably heard at any public proceeding in

the district court involving release, plea, sentencing, or any parole proceeding.”

Sec. 3771(a)(4). The Act specifies that this provision applies to habeas corpus

proceedings arising out of a state conviction. Sec. 3771(b)(2)(A).

      Despite the straightforward language of a statute that specifies that a crime

victim has the right to be heard at a hearing involving sentencing, Wharton resorts

to statutory construction, including reading a part of the legislative history of the


                                         7
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 8 of 18




statute. Motions in Limine at 8-9. The Supreme Court has addressed this manner of

determining a statute’s meaning:

             We cannot approve such a casual disregard of the rules of
      statutory interpretation. In statutory interpretation disputes, a court's
      proper starting point lies in a careful examination of the ordinary
      meaning and structure of the law itself. Schindler Elevator Corp. v.
      United States ex rel. Kirk, 563 U.S. 401, 407, 131 S.Ct. 1885, 179
      L.Ed.2d 825 (2011). Where, as here, that examination yields a clear
      answer, judges must stop. Hughes Aircraft Co. v. Jacobson, 525 U.S.
      432, 438, 119 S.Ct. 755, 142 L.Ed.2d 881 (1999). Even those of us
      who sometimes consult legislative history will never allow it to be
      used to “muddy” the meaning of “clear statutory language.” Milner,
      562 U.S. at 572, 131 S.Ct. 1259. …

Food Marketing Institute v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019).

Wharton seeks to vacate his sentence; the proceeding therefore plainly “involves

… sentencing” and the Court need go no further.

      Even if, for some reason, an ambiguity existed in this language, Wharton’s

argument leads to an absurd reading of the statute. He contends that only actual

sentencing proceedings are encompassed within § 3771(a)(4). As noted, however,

§ 3771(b)(2)(A) provides that § 3771(a)(4) applies to habeas corpus proceedings.

If it were correct that § 3771(a)(4) only applied to actual sentencing proceedings,

that is, proceedings to determine the sentence, then § 3771(a)(4) could never apply

to habeas corpus proceedings arising from a state conviction because federal courts

never sentence state prisoners in habeas corpus proceedings. The same is true of

plea proceedings and parole proceedings, also specified in § 3771(b)(2)(A). The


                                         8
       Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 9 of 18




only proceeding to which § 3771(b)(2)(A) might apply is a bail hearing after the

conditional grant of habeas corpus relief. Wharton’s reading makes no sense.

      Simply put, the language of the statute indicates that a victim has the right to

be heard at a proceeding involving sentencing, and this proceeding involves

sentencing. There is no ambiguity and no other reasonable way to read the statute.

                    (C) “Radical Transformation” of the Claim

      Wharton next objects to the family members testifying because OAG

purportedly is attempting a “radical transformation” of the case, citing United

States v. Sineng-Smith, 140 S. Ct. 1575 (2020). This case is nothing like Sineng-

Smith and OAG has not “radically transformed” the case.

      Sineng-Smith involved a defendant convicted of encouraging or inducing

aliens to come to, enter, or reside in the United States, knowingly or in reckless

disregard of the fact that such coming to, entry, or residence is or will be in

violation of law under 8 U.S.C. § 1324(a)(1)(A)(iv), with an enhanced penalty

because the crimes were committed for the purpose of commercial advantage or

private financial gain under § 1324(a)(1)(B)(i). Sineng-Smith at 1577. The

defendant argued before both the district court and the Ninth Circuit, both in her

brief and at oral argument, that (1) the statute did not cover her conduct and (2) the

statutes violated the Petition and Free Speech Clauses of the First Amendment. Id.

at 1578. See also United States v. Sineng-Smith, 910 F.3d 461, 469 (9th Cir. 2018)


                                          9
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 10 of 18




(reversed). The Ninth Circuit then issued an order inviting named amici curiae to

file briefs on three new issues framed by the Court: whether the statute is

overbroad; whether the statute is void for vagueness; and whether there is an

implicit mens rea element of the statute. 140 S. Ct. at 1578, 1580-1581; 910 F.3d

at 469. While the parties were permitted to file supplemental briefs, at oral

argument, amici were allocated twice the time permitted to counsel for the

defendant. 140 S. Ct. at 1581. The Ninth Circuit panel later ruled in favor of the

defendant based on an issue briefed by the amici, the overbreadth issue. Id. at

1578, 1581.

      The Supreme Court reversed, finding that the Ninth Circuit panel’s actions

violated the party presentation principle, which allows the parties to shape their

case before a court that is presumed to be passive. Id. at 1579. The Court reasoned:

             No extraordinary circumstances justified the panel's takeover of
      the appeal. Sineng-Smith herself had raised a vagueness argument and
      First Amendment arguments homing in on her own conduct, not that
      of others. Electing not to address the party-presented controversy, the
      panel projected that § 1324(a)(1)(A)(iv) might cover a wide swath of
      protected speech, including political advocacy, legal advice, even a
      grandmother's plea to her alien grandchild to remain in the United
      States. 910 F.3d at 483–484. Nevermind that Sineng-Smith's counsel
      had presented a contrary theory of the case in the District Court, and
      that this Court has repeatedly warned that “invalidation for [First
      Amendment] overbreadth is ‘strong medicine’ that is not to be
      ‘casually employed.’” United States v. Williams, 553 U.S. 285, 293,
      128 S.Ct. 1830, 170 L.Ed.2d 650 (2008) (quoting Los Angeles Police

                                         10
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 11 of 18




      Dept. v. United Reporting Publishing Corp., 528 U.S. 32, 39, 120
      S.Ct. 483, 145 L.Ed.2d 451 (1999)).
             As earlier observed, see supra, at 1579, a court is not
      hidebound by the precise arguments of counsel, but the Ninth Circuit's
      radical transformation of this case goes well beyond the pale.

Id. at 1581-1582.

      Unlike Sineng-Smith, the primary issue before this Court remains the same

that was presented to the Court in Wharton’s petition for writ of habeas corpus:

whether trial counsel was ineffective for failing to investigate and present to the

second sentencing jury evidence of Wharton’s purported “positive adjustment” to

prison life as a mitigating circumstance. That issue remains before the Court and is

the focus of the scheduled hearing. Nothing that the family members say will

change the nature of that issue as it is considered by the Court.

      Apart from the primary legal and factual issues to be resolved, the Court has

been presented with a separate, albeit related, issue. In seeking to resolve the case

rather than participate in the hearing directed by the Third Circuit, the District

Attorney’s Office, as attorneys for the Commonwealth, made a representation to

the Court about communications with the victims’ family members. Wharton has

twice asked this Court to reconsider its decision to reject the proposed resolution,

relying mostly on the District Attorney’s willingness to do so. Thus, it is the

parties that have framed this issue for the Court, not OAG. The issue existed



                                          11
       Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 12 of 18




before OAG ever entered the case as amicus curiae and even before the Court

invited OAG to do so.

        Simply stated, Sineng-Smith is inapposite because there has been no change

in the primary issue before the Court, because the amicus curiae did not radically

alter anything that was not already before the Court, and because, to the extent that

there has been any change (actually, there has been an addition, not a change) in

the nature of the case, it was the parties who framed the case.

                               (D) Motion for Reconsideration

        Wharton moves for reconsideration of the Court’s decision to allow the

family members to testify based on “several errors of law.” Motions in Limine at

11. He first relies on the purported errors he raised previously, id. at 11-12, which

are not errors, as discussed above. He also claims that the District Attorney’s

concession 1 is no longer “at issue.” Motions in Limine at 12. Again, not only is the

Court concerned with the accuracy of what was presented, but Wharton has again

moved for reconsideration of the proposed “settlement,” id. at 15, and so the matter

is still “at issue.”

       III. MOTION TO EXCLUDE EXHIBITS PROFFERED BY OAG

                                     (A) Newspaper Articles


1
  Despite the title of its filing, the District Attorney’s Office did not actually concede the issue. It
simply stated that Wharton’s claim was “not without merit” and so it chose to resolve the claim
by allowing the Court to issue a conditional writ, allowing a state court to enter a new sentence.
                                                  12
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 13 of 18




      Wharton moves to exclude specified exhibits proffered by OAG, beginning

with newspaper articles relating the events of Wharton’s escape from the custody

of deputy sheriffs at City Hall following his sentencing in another case. According

to Wharton, the newspaper articles are “double hearsay” inadmissible under Rule

402. Motions in Limine at 13.

      To begin, the Federal Rule of Evidence governing the exclusion of hearsay

evidence is Rule 802, not Rule 402. The Rule provides:

      Hearsay is not admissible unless any of the following provides otherwise:
      • a federal statute;
      • these rules; or
      • other rules prescribed by the Supreme Court.


Fed. R. Evid. 802. Hearsay is defined in Rule 801:

      (c) Hearsay. “Hearsay” means a statement that:
            (1) the declarant does not make while testifying at the current trial or
            hearing; and
            (2) a party offers in evidence to prove the truth of the matter asserted
            in the statement.

Fed. R. Evid. 801(c).

      There are two problems with Wharton’s argument. First, the newspaper

articles are not offered for the truth of the matters asserted therein. They are

offered to show the evidence that was available to the prosecution if Wharton had

tried to present evidence of his purported “positive adjustment” to the second jury.

Any reasonable prosecutor would have responded by showing that Wharton did not


                                         13
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 14 of 18




in fact make such an adjustment, including presenting the testimony of the

witnesses identified in the stories. Thus, the statements are not hearsay.

      Moreover, the articles qualify as “ancient documents,” as the newspaper

articles were written and published before January 1, 1998. See Fed. R. Evid.

803(16); Rule 803, Note to Paragraph 16 (noting that 58-year-old newspaper story

had been properly admitted, citing Dallas County v. Commercial Union Assurance

Co., 286 F.2d 388 (5th Cir. 1961)); Langbord v. U.S. Dept. of Treasury, 2011 WL

2623315, *16-*17 (E.D. Pa. July 5, 2011) (newspaper articles more than 20 years

old are admissible, including over hearsay-within-hearsay objection). Thus, even if

the Court finds that the articles are hearsay, they are admissible under an exception

to the hearsay rule.

                                 (B) Civil Litigation

      Wharton objects to the evidence of Wharton’s civil litigation proffered by

OAG. He claims that this evidence is not relevant.

      Wharton misapprehends the basis for OAG offering the civil complaint filed

by Wharton and the order dismissing it. In his complaint, Wharton lies about the

events of his escape, as he did earlier when interviewed upon entering the

Department of Corrections. Wharton claimed in his civil complaint and during his

interview that the deputy sheriffs had left him unattended and he simply started

walking away. In his interview, he claimed never to have gotten out of the


                                          14
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 15 of 18




building. The police reports and criminal complaint, along with Wharton’s guilty

plea based on facts recited in the criminal complaint, indicate that Wharton

assaulted a deputy sheriff and ran to a stairwell. Despite being shot twice, in a

buttock and a thigh, Wharton continued to run and made it out to the street before

collapsing and being recaptured. These documents show that Wharton continued to

misrepresent those events well into the time of incarceration and demonstrate his

unwillingness to cooperate with authority. Moreover, despite his complaint having

been dismissed in part because shooting an escaping capital prisoner is not

excessive force, Wharton made the same claim in an amended complaint, again

demonstrating his unwillingness to submit to authority, this time a court. This

evidence is directly relevant.

                           (C) Testimony of Carlos Vega

      Wharton objects to the proffered testimony of Carlos Vega as set forth in the

statement he provided to OAG. OAG agrees that Vega cannot testify to events that

he did not witness himself.

                        IV. MOTION TO RECONSIDER

      As noted above, Wharton again moves for reconsideration of the proposed

settlement, claiming to have “new information.” The information is not new and is

not a proper basis for reconsideration in any event.




                                         15
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 16 of 18




      According to Wharton, his counsel conducted a review of the “homicide

file” of the District Attorney’s Office in early 2020. In that file, counsel found a

letter from a former chief of the District Attorney’s Homicide Unit offering life

sentences to Wharton and his codefendant if they both agreed to plead guilty to

murder of the first degree before trial. Wharton does not explain why he waited a

year to bring this “new information” to the Court’s attention.

      First, it is unclear why defense counsel would be permitted to “review” a file

of the District Attorney’s Office as, apart from pretrial discovery and without a

court order, such an action is illegal. See Pennsylvania Criminal History Record

Information Act, 18 Pa.C.S. §§8101-9183 (governing, inter alia, disclosure of

criminal history record information, including prohibition of disclosure to any

person not a member of a criminal justice agency under § 9106). While the letter

does not constitute criminal history record information, the District Attorney’s file

would be replete with such documentation and no non-law enforcement entity

should be permitted to examine its contents.

      More importantly for present purposes, Wharton indicates that the letter was

from the former Chief of Homicide to counsel for Wharton and codefendant Eric

Mason. The information is not new and certainly was available to Wharton decades

ago. Moreover, Wharton and Mason plainly rejected the offer, since both went to

trial. The reason such an offer is made to capital defendants is to spare the family


                                         16
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 17 of 18




members of victims the decades of litigation that ensue after a death sentence and

the resulting trauma of reliving the loss of their loved ones every time a new

petition or appeal is filed, or another hearing is conducted. Wharton’s cynical

misuse of an offer he rejected exemplifies what the survivors of murder victims

experience endlessly.

      The letter is not new information and is not a basis for reconsidering the

Court’s prior Order.



      WHEREFORE, Amicus Curiae the Pennsylvania Office of Attorney General

respectfully requests that the Court enter an Order granting Wharton’s Motions in

Limine in part and directing that the testimony of Carlos Vega be limited to those

events he personally witnessed, and otherwise denying the Motions in Limine.


      By: /s/ James P. Barker             /s/ Cari Mahler
       James P. Barker                      Cari Mahler
       Chief Deputy Attorney General        Senior Deputy Attorney General
       Office of Attorney General           Office of Attorney General
       Criminal Law Division                Criminal Law Division
       Appeals and Legal Services Section Appeals and Legal Services Section
       16th Floor—Strawberry Square         1000 Madison Avenue, Suite 310
       Harrisburg, PA 17120                 Norristown, PA 19403
       (717) 787-6348                       (610) 631-6552
       jbarker@attorneygeneral.gov          cmahler@attorneygeneral.gov


Date: February 1, 2021



                                       17
      Case 2:01-cv-06049-MSG Document 218 Filed 02/01/21 Page 18 of 18




                         CERTIFICATE OF SERVICE
      I hereby certify that on this date, I caused the foregoing Response of Amicus

Curiae Pennsylvania Office of Attorney General to Petitioner’s Motions in Limine

to be served on the following persons via ECF or by first class mail:

                          Via ECF and/or First Class Mail
      Victor J. Abreu, Esquire                     Nancy Winkelman, Esquire
      Claudia Van Wyk, Esquire                     Paul M. George, Esquire
      Elizabeth McHugh, Esquire                    District Attorney’s Office
      Federal Community Defender Office            3 South Penn Square
      Capital Habeas Corpus Unit                   Philadelphia, PA 19107
      601 Walnut Street, Suite 545 West            (Counsel for Respondent)
      Philadelphia, PA 19106
      (Counsel for Petitioner)



      By: /s/ James P. Barker             /s/ Cari Mahler
       James P. Barker                      Cari Mahler
       Chief Deputy Attorney General        Senior Deputy Attorney General
       Office of Attorney General           Office of Attorney General
       Criminal Law Division                Criminal Law Division
       Appeals and Legal Services Section Appeals and Legal Services Section
       16th Floor—Strawberry Square         1000 Madison Avenue, Suite 310
       Harrisburg, PA 17120                 Norristown, PA 19403
       (717) 787-6348                       (610) 631-6552
       jbarker@attorneygeneral.gov          cmahler@attorneygeneral.gov


Date: February 1, 2021




                                         18
